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                      EXHIBIT A
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  Rachel Maddow Transcripts / Rachel Maddow


    Justice Stevens praised as “brilliant man”.
    TRANSCRIPT: 7/22/19, The Rachel Maddow.
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    Guests:
    David Glosser

    Transcript:
    RACHEL MADDOW, MSNBC HOST: Thank you very much, Joy. Much appreciate it,

    my friend. Thanks a lot.




    Thanks to you at home for joining us this hour. Happy to have you here

    this Monday night.




    If the FOX News Channel is insufficient pro-Trump for you, you may or may

    not know that there is another boutique little news outlet that is designed

    specifically for Trump mega fans. It`s called One America – One America

    News Network.




    The Trump White House gave this boutique outfit a hard pass for access to

    the White House grounds and a permanent seat in the White House briefing

    room. Remember when the White House used to hold press briefings? They

    had a seat for those.




    President Trump also started quoting this little news outlet and frequently

    telling people that they should be watching them, praising their ratings,




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    which is the highest possible praise from this president, right?




    Today has been a more ridiculous than most day in the news and there is a

    ton going on, and we`ve got a very busy show. But I have to tell you,

    perhaps the single most perfectly formed story of the day, the single most

    like sparkly story of the entire day is this scoop from reporter Kevin

    Paulson at “The Daily Beast” who has sussed out that Trump`s favorite more

    Trumpier than Fox TV network, the one that the president has been promoting

    and telling everyone they should watch and is better than Fox, turns out

    that network has a full time on air reporter who covers U.S. politics who

    is simultaneously on the payroll of the Kremlin. What?




    Because at the same time he works for Trump`s favorite One America News

    team, he is also being paid by the Russian government to produce

    government-funded pro-Putin propaganda for a Russian government funded

    propaganda outfit called Sputnik. Sputnik, of course, had a key role in

    the Russian government`s intervention in the 2016 election to help Trump,

    according to the intelligence committee`s assessment of that attack.

    Sputnik has also formally registered with the U.S. Justice Department as an

    agent of a foreign power.




    I mean, there is a lot of news today, but among the giblets the news gods

    dropped off their plates for us to eat off the floor today is the actual

    news that this super right wing news outlet that the president has

    repeatedly endorsed as a preferable alternative to Fox News, because he




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    thinks Fox is insufficiently pro-Trump, so now he likes this is other

    outlet better. We literally learned today that that outlet the president

    is promoting shares staff with the Kremlin.




    I mean, what? I mean, it`s an easy thing to throw out, you know, like an

    epitaph in the Trump era, right? Hey, that looks like Russian propaganda.

    In this case, the most obsequiously pro-Trump right wing news outlet in

    America really literally is paid Russian propaganda. They`re on air U.S.

    politics reporter is paid by the Russian government to produce propaganda

    for that government.




    I mean, this is the kind of news we are supposed to take in stride these

    days. And we do our best.




    That is just one of the things we learned today. And I guess you just

    swallow that and then you move on. And we expect that they won`t fire

    their Kremlin staffer and we expect that the president will keep promoting

    them, and we expect that other right wing news outlets wonder if they

    should have a Kremlin staffer doing U.S. politics reporting, too.




    It probably makes it easier to get the message. I mean – anyway, let`s

    get to it. As I said, there is a lot going on. And given all of the drama

    that`s happening right now in Washington and how much more dramatic it`s

    going to get in Washington over the next two days, I actually want to start

    tonight with something in Washington that was a tremendously solemn




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